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                                          U.S. Department of Justice
[Type text]
                                                        United States Attorney
                                                        Southern District of New York

                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                        March 4, 2021

BY ECF
The Honorable P. Kevin Castel
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Geovanny Fuentes-Ramirez, S6 15 Cr. 379 (PKC)

Dear Judge Castel:

         The Government respectfully submits this letter in response to today’s order (D.E. 257)
that, inter alia, directs the Government, “[t]o the extent the government has not already done so,”
to “forthwith turn over to the defense any communications, including texts, emails, photos, voice
or video recordings, referred to in the government’s letter of March 2, 2021 and/or the defense’s
letter of March 3, 2021 (the ‘Material’) and shall further: (A) provide to the defense any
translations of the Material, whether or not complete or official; and (B) identify to the defense
and to the Court any and all such Material that it intends to offer into evidence at trial.”

        The Government respectfully advises the Court that the Material referred to in the
Government’s March 2, 2021 letter, comprising of records relating to an iCloud account and an
Instagram account, was produced to defense counsel prior to the filing of that letter, including
marked proposed exhibits from that Material and any completed translations. The Government
produced today draft translations of a limited number of chats and one image from the iCloud
Account that it is not introducing at trial, which completes its production of translations related to
that account (or any other material). As noted in the Government’s March 3 letter, the Government
is not offering any of the Material referred to in defense counsel’s March 3 letter, which consists
of prison emails and calls of the defendant. In addition, copies of all of the Government’s current
proposed exhibits, including exhibits from the Material, will be provided to chambers today.

                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 United States Attorney

                                           by:         /s/
                                                 Jacob Gutwillig / Matthew Laroche /
                                                 Michael D. Lockard
                                                 Assistant United States Attorneys
                                                 (212) 637-2215 / 2420 / 2193

cc: Defense counsel of record (by ECF)
